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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


 Civil Action No. 15-cv-01750-GPG

 JOHN A. CLAICE,

        Plaintiff,

 v.

 PARK COUNTY SHERIFF’S DEPT.,
 P.C. SHERIFF FRED WERGNER,
 P.C. UNDERSHERIFF MONTE GORE,
 P.C. JAIL ADMINISTRATOR CAPT. MULDOON,
 P.C. DEPUTY VERMILLO,
 P.C. DEPUTY CORPORAL COOPER, and
 P.C. DEPUTY BREWER,

        Defendants.


                     ORDER TO DISMISS IN PART AND TO DRAW CASE


        Plaintiff, John A. Claice, is a prisoner in the custody of the Colorado Department of

 Corrections at the San Carlos Correctional Facility in Pueblo, Colorado. Mr. Claice

 initiated this action by filing pro se a Prisoner Complaint (ECF No. 1) pursuant to 42

 U.S.C. § 1983. On August 17, 2015, Magistrate Judge Gordon P. Gallagher ordered Mr.

 Claice to file an amended complaint that clarifies the constitutional claim he is asserting

 and what each Defendant did that allegedly violated his rights. Mr. Claice was warned

 that the action would be dismissed without further notice to the extent he is suing

 Defendants who did not personally participate in the asserted constitutional violation if he

 failed to file an amended complaint within thirty days. Mr. Claice has not filed an

 amended complaint and he has failed to respond in any way to Magistrate Judge
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 Gallagher’s August 17 order.

        Pursuant to 28 U.S.C. § 1915A, the Court must review the Prisoner Complaint

 because Mr. Claice is a prisoner and he is seeking redress from officers or employees of

 a governmental entity. Pursuant to § 1915A(b), the Court is required to dismiss the

 Prisoner Complaint, or any portion of the Prisoner Complaint, that is. A legally frivolous

 claim is one in which the plaintiff asserts the violation of a legal interest that clearly does

 not exist or asserts facts that do not support an arguable claim. See Neitzke v. Williams,

 490 U.S. 319, 324 (1989). For the reasons stated below, the Court will dismiss the

 Prisoner Complaint in part as legally frivolous pursuant to § 1915A(b).

        The Court must construe the Prisoner Complaint liberally because Mr. Claice is not

 represented by an attorney. See Haines v. Kerner, 404 U.S. 519, 520-21 (1972); Hall v.

 Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991). However, the Court should not be an

 advocate for a pro se litigant. See Hall, 935 F.2d at 1110.

        Mr. Claice contends his constitutional rights were violated while he was housed at

 the Park County Jail from May 29, 2015, to June 24, 2015, pending a parole revocation

 hearing. He alleges that Park County Jail officials failed to protect him from being

 assaulted by other inmates in living unit D who repeatedly sprayed his person, bunk, and

 bedding with a mixture of cleaning chemicals and bio-hazardous liquid containing urine

 and feces. He further alleges that he was physically attacked by another inmate on June

 9 and that he was removed from living unit D and placed in administrative segregation the

 same day for protecting himself from being assaulted. According to Mr. Claice, he

 informed jail officials prior to the June 9 attack about the issues he was having with other

 inmates by writing two kites to the shift commander on June 2 and June 3; filing a
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 grievance addressed to Undersheriff Monte Gore on June 5; verbally complaining to

 Deputy Vermillo and requesting placement in protective custody on June 5; and writing a

 letter to Sheriff Fred Wergner on June 8. Mr. Claice maintains that Deputy Vermillo

 returned him to living unit D on June 5 after Mr. Claice requested placement in protective

 custody and that Deputy Vermillo informed gang members in living unit D that Mr. Claice

 was a sex offender. Mr. Claice also alleges that Deputy Pender, who is not named as a

 Defendant, was aware Mr. Claice was being assaulted by other inmates in living unit D

 and encouraged the assaults.

        Magistrate Judge Gallagher determined the Prisoner Complaint is deficient

 because Mr. Claice fails to allege specific facts that demonstrate each Defendant

 personally participated in the asserted Eighth Amendment violation. “Individual liability

 under § 1983 must be based on personal involvement in the alleged constitutional

 violation.” Foote v. Spiegel, 118 F.3d 1416, 1423 (10th Cir. 1997). Thus, allegations of

 “personal participation in the specific constitutional violation complained of [are]

 essential.” Henry v. Storey, 658 F.3d 1235, 1241 (10th Cir. 2011). A defendant may not

 be held liable for the unconstitutional conduct of his or her subordinates on a theory of

 respondeat superior. See Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009). Although a

 defendant can be liable in a § 1983 action based on his or her supervisory

 responsibilities, a claim of supervisory liability must be supported by allegations that

 demonstrate personal involvement, a causal connection to the constitutional violation,

 and a culpable state of mind. See Schneider v. City of Grand Junction Police Dept., 717

 F.3d 760, 767-69 (10th Cir. 2013) (discussing standards for supervisory liability).



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        Mr. Claice fails to allege facts that demonstrate any Defendant other than Deputy

 Vermillo personally participated in the alleged constitutional violation. Although Mr.

 Claice alleges he informed other Defendants about the alleged assaults in kites,

 grievances, and letters, passive receipt of such correspondence does not demonstrate

 personal participation in the alleged constitutional violation. See Davis v. Ark. Valley

 Corr. Facility, 99 F. App’x 838, 843 (10th Cir. 2004) (“Copying [the prison warden] with

 correspondence outlining [an inmate’s] complaints about medical care, without more,

 does not sufficiently implicate the warden under § 1983.”). Therefore, the constitutional

 claim against each Defendant other than Deputy Vermillo will be dismissed as legally

 frivolous.

        Mr. Claice also fails to allege facts that support an arguable constitutional claim

 against the individual Defendants in their official capacities. Official capacity suits

 “generally represent only another way of pleading an action against an entity of which an

 officer is an agent.” Monell v. Dept. of Soc. Servs., 436 U.S. 658, 690 n.55 (1978).

 Therefore, Mr. Claice’s claim against Defendants in their official capacities must be

 construed as a claim against Park County. Similarly, the Court construes Mr. Claice’s

 constitutional claim against the Park County Sheriff’s Department as a claim against Park

 County because the Park County Sheriff’s Department is not a person subject to suit

 under 42 U.S.C. § 1983. See Stump v. Gates, 777 F. Supp. 808, 814-16 (D. Colo. 1991),

 aff’d, 986 F.2d 1429 (10th Cir. 1993).

        As Magistrate Judge Gallagher explained, Mr. Claice cannot state a cognizable

 claim for relief against Park County unless he demonstrates he suffered an injury caused



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 by a municipal policy or custom. See Schneider v. City of Grand Junction Police Dept.,

 717 F.3d 760, 769-71 (10th Cir. 2013) (discussing Supreme Court standards for municipal

 liability); Dodds v. Richardson, 614 F.3d 1185, 1202 (10th Cir. 2010). Because Mr.

 Claice fails to allege any facts that demonstrate he suffered an injury caused by a

 municipal policy or custom, the constitutional claim against the individual Defendants in

 their official capacities and the constitutional claim against the Park County Sheriff’s

 Department also will be dismissed as legally frivolous.

        The Court will not address at this time the merits of the constitutional claim against

 Deputy Vermillo in his individual capacity. Instead, the action will be drawn to a presiding

 judge and, if applicable, to a magistrate judge. See D.C.COLO.LCivR 8.1(c).

 Accordingly, it is

        ORDERED that the individual capacity claims against Defendants Park County

 Sheriff’s Department, P.C. Sheriff Fred Wergner, P.C. Undersheriff Monte Gore, P.C. Jail

 Administrator Capt. Muldoon, P.C. Deputy Corporal Cooper, and P.C. Deputy Brewer are

 dismissed as legally frivolous pursuant to 28 U.S.C. § 1915A(b). It is

        FURTHER ORDERED that the official capacity claims against all Defendants are

 dismissed as legally frivolous pursuant to 28 U.S.C. § 1915A(b). It is

        FURTHER ORDERED that Defendants Park County Sheriff’s Department, P.C.

 Sheriff Fred Wergner, P.C. Undersheriff Monte Gore, P.C. Jail Administrator Capt.

 Muldoon, P.C. Deputy Corporal Cooper, and P.C. Deputy Brewer are dismissed as

 parties to this action. It is

        FURTHER ORDERED that this case shall be drawn to a presiding judge and, if



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 applicable, to a magistrate judge.

       DATED at Denver, Colorado, this   25th   day of   September   , 2015.

                                             BY THE COURT:



                                                 s/Lewis T. Babcock
                                             LEWIS T. BABCOCK, Senior Judge
                                             United States District Court




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